Case 4:16-cv-00052-RSB-CLR Document 66-9 Filed 12/07/16 Page 1 of 21

Expert Report of

L. Lamar Blount, CPA/CFF, FHFMA
Health Law Network, Inc.

In the case of

Jacquelyn Orr
VS.

Macy's Retail Holdings, Inc.
Civil Action No. 416-52

in US District Court for the
Southern District of Georgia,
Savannah Division

Prepared for
Drew, Eckl & Farnham

August 22,-2016

tabbies"

  

 

 

 
Case 4:16-cv-00052-RSB-CLR Document 66-9 Filed 12/07/16 Page 2 of 21

|. BACKGROUND, SUMMARY OF ISSUES AND OPINIONS

This action arises from an accident that the plaintiff, Jacquelyn Orr, had on April 2,
2015. Health Law Network was engaged by Drew, Eckl & Farnham, on August 8,
2016, to Independently review the plaintiff's projected medical charges and to report
on our findings as to the reasonable charges for those medical services.

| was provided plaintiff's documents for medical services projected by Alan Harben,
MD, PhD, and Markus Niederwanger, MD, and present value calculations by Wayne
Plumly, PhD,

Summary of Opinions

My opinions are based upon my review of the facts presented in this case, published
data on usual, customary and reasonable charges for medical services, and my
experience as a CPA, auditing and consulting with healthcare providers nationwide
for over 30 years. .

[tis my opinion that the many of the Plaintiff's projections of medical charges exceed
the independently sourced usual, customary and reasonable charges for similar
services in the Savannah area by more than 50%, and therefore are not credible.
Additional errors In the Plaintiff's projections include projections for Oxycodone that
contradict the Amended Report of Dr. Niederwanger, and tmresolved inconsistencies
between projections made by the two MDs.

ll. PROFESSIONAL QUALIFICATIONS & EXPERIENCE

My current resume and list of publications are attached as Appendix A. | ama
Certified Public Accountant, Certified in Financial Forensics, a Fellow of the
Healthcare Financial Management Association, and the founder and president of
Health Law Network.

Since 1974, | have provided financial statement audits, financial advisory,
reimbursement consulting, and liligation support services for over 500 healthcare
clients. This includes publicly traded national healthcare organizations, integrated
healthcare delivery systems, multi-hospital groups, individual hospitals, ambulatory
surgery centers and physician groups, as well as health insurance companies,
managed care organizations, and government agencies.

In my professional experience, | have directed and managed: charge master and fee
schedule rate setting projects, reimbursement consulting and appeal engagements,
and resolutions of complex payment disputes befween healthcare providers and
payors. My professional experience includes serving as:

¢ Partner of Hyatt, Imler, Ott & Blount, CPAs from 1981 to 1980, responsible

for Healthcare Financial Consulting services. The firm became the 10"
_ largest CPA firm in Atlanta,

HLN Expert Report August 22, 2016 Page 2 of 10

 

 

 
_ Case 4:16-cv-00052-RSB-CLR | Document @6-9 Filed 12/07/16 Page 3 of 21 -

¢ President of Hosplan Micro Systems from 1982 to 1990, which developed
and provided soflware lo healthcare providers for rate setting, flexible
budgeting, medical record abstracting and coding.

¢ President of Healthcare Management Advisors (HMA) from 1990 - 2002,
which served over 1,500 hospitals nationwide, as well as hundreds of other
healthcare providers and organizations.

. « President of American Benefit Advisors (ABA) since 2003, which provides
group health and other ernployee benefit insurance consulting and broker
services to public and private employers.

* President of Health Law Network (HLN) since 2003, which serves as
financial, reimbursement and compliance consultants fo hospitals,
physicians, state agencies, and attorneys nationwide.

In addition to having published newsletters and serving on multiple other newsletter
editorial boards in the healthcare industry, | am the co-author of Mastering the
Reimbursement Process, Second & Third Editian books, published by the
American Medical Association. —

During the past 30+ years, | have served as a consultant and expert witness in over
200 cases or projects, testified in over 50 cases, and been admilted as a medical

billing, healthcare financial and reimbursement expert in multiple federal and state
courts. Appendix B contains information on all of the cases where | have testified
as an expert witness since 2010.

Health Law Network is being compensated at its standard hourly rate of $395 per
hour for my research, evaluation, and report preparation time, $525 per hour for
depositions and trial testimony time, plus out of pocket expenses for any travel and
other related expenses in this case. Those are the standard rates and fees charged:
. by Health Law Network when the engagement began, and neither the firm’s billing
rates nor my personal compensation amounts are contingent upon the oufcome of

this case.
HL INFORMATION CONSIDERED IN FORMING OPINIONS

During my 30+ years of experience in the healthcare industry, | have served as a
CPA and consultant to multiple medical and other healthcare providers, government
agencies, and insurance carriers. in serving these clients, | have frequently
researched rates charged for services and have been consulted on usual, customary
and reasonable charges. This experience has given me a reasonable basis formy —
opinions in this case.

in addition to the above, the documents and information that were considered in
forming the opinions in this report include the specific sources listed in this report and
attachments and those listed below:

HEN Expert Report August 22, 2016 Page 3 of 10

 

 

 
. Case 4:16-cv-00052-RSB-CLR Document 66-9 Filed 12/07/16 Page 4 of 21

Plaintiff's Complaint & Second Amended Complaint

Defenses and Answers of Defendant to Plaintiffs’ Complaint & Second
Amended Complaint

Current Procedural Terminology (CPT), 2016 Professional Edilions,
published by American Medical Association

Medical Fees 2016, published by Practice Management Information —
Corporation (PMIC)

Physicians’ Fee Reference 2016, published by Medical Publishers, LTD

US Department of Veterans Affairs, VHA Chief Business Office, Outpatient.
Facitily Reasonable Charges, 2016

American Hospital Directory’s AHD.com for hospital facility charges

http:/professional.medironic.com/éwem/groups/mdtcom sq/@mdt/@neuro/
documents/documents/scs-codes.pdf

iV. SUNIMARY OF PROCESS

My findings and opinions are presented to a reasonable degree of certainty based
upon: (1) a comparison of the amounts projected to publicly available medical charge
data for the same types of services billed by other medical providers, using
methodologies and standards that are consistent with those used in medical billing
and generally accepted in the healthcare industry; and (2) my 30+ years of °
experience and expertise in the fields of medical billing and accounting.

Overview of Process

1.

| independently reviewed and evaluated the plaintiff's experts’ reports of
projected medical charges. | was not asked to audit the accuracy or test
the authenticity of the records provided to me, but rather relied on them as
submitted.

In the process of independently comparing the projected charges for
specific professional fees to usual, customary and reasonable amounts for
other similar providers, | researched and relied upon two independent
UCR sources: .

a. Medical Fees 2016, published by Practice Management
Information Corporation (PMIC) -

b. Physicians’ Fee Reference 2016, published by Medical
Publishers, LTD

HLN Expert Report August 22, 2016 Page’4 of 16

 

 

 
Case 4:16-cv-00052-RSB-CLR Document 66-9 Filed 12/07/16 Page 5 of 21

[ consulted with Dorothy Steed, CPC, and Jessica Schmor, CCS, two of
HLN’s Senior Coding Consultants, on the appropriate Diagnosis Related
Group (DRG) for the inpatient equivalent for the planned Spinal Cord
Stimutator surgery. .

We used Current Procedural Terminology (CPT), published by the
American Medical Association as the authoritative source.to evaluate the
appropriateness of the CPT codes for the projected professional fees.

Medicare allowable amounts and the applicable GAF were recorded from
the Medical Fees 2016, published by Practice Management Information
Corporation (PMIC),

As an additional test of the reasonableness of the Professional Fee
Charges, | compared the actual charges to the amounts allowable by
Medicare.

In the process of independently comparing the projected charge amounts
for ambulatory surgery center facility services fo usual, customary and
reasonable amounts for other similar providers, | researched and relied

“upon the Reasonable Charge Data published by the U.S. Department of

Veterans Affairs, which publishes the 80" percentife of charges.

To determine comparable hospital inpatient charges for the planned
Spinal Cord Stimulator surgery, we used the equivalent inpatient

- Diagnosis Related Group MS-DRG 029 - SPINAL PROCEDURES WCC

10.

11.

12.

_ 13.

OR SPINAL NEUROSTIMULATORS based upon Medtronic's
Nerostimulator Commonly Billed Codes, Effective January 2016.

We researched the American Hospital Directory (AHD) database for acute
care hospitals in Georgia, South Carolina and North Florida reporting
inpatient cases of Spinal Cord Stimulator surgery — DRG 029 in 2015.

We researched the American Hospital Directory (AHD) database for
hospitals in Savannah reporting outpatient CPT procedure codes 63650 or
63685 in 2015.

We researched the CMS public data files for DRG Summary for Medicare
inpatient Prospective Payment Hospifals, FY2014 to determine the GA
statewide average charges for DRG 029.

| performed an online search for published studies on the cost of Spinal
Cord Stimulator surgery procedures and devices in peer reviewed
professional journals.

The sources of comparative usual, customary and reasonable charge data
and the methodologies that i used in this engagement are consistent with

HLN Expert Report August 22, 2016 Page 5 of 10

 

 

 
Case 4:16-cv-00052-RSB-CLR Document 66-9 Filed 12/07/16 Page 6 of 21

those | have used in similar engagements in the past and are generally
accepted in the healthcare industry.

Vv. ANALYSIS OF FACTS, FINDINGS & OPINIONS

Facts

 

t.

The PMIC Physician Fees is an annually published listing of medical
procedure codes and descriptions, and it Includes UCR fees at the 50", 75!
and 90" percentile levels.

The PMIC daiabase was derived from over 400 million actual submitted
charges obtained from a variety of sources, including third-party payers,
group practices, clinics, universities, and practice management system
vendors.?

Over 100,000 physicians, hospitals, Insurance carriers, and other healthcare
professionals use PMIC’s publications for guidance in coding, billing and .
evaluating their fee schedules,

The Physicians’ Fee Reference (PFR) is a nationwide compendium of fees
based on public sources, including the most recent CMS Limited Data Set
{LDS) Standard Analytical Files of actual Medicare claims and additional
independent research.*

The U.S. Department of Veterans Affairs Reasonable Charge Data is based
on the 80th percentile of charges for all types of inpatient and outpatient
services. It is based on the gross amount of billed charges in Medicare
claims, as well as claims submitted by 7 million employees and dependents
covered by the health benefit programs for large employers and collected
from over 200 different insurance compantes, Blue Cross and Blue Shield
plans, and third-party administrators. ®

The U.S. Department of Veterans Affairs is required by Congress to:

“...establish VA charges that replicate, Insofar as possible, the
80th percentile of community charges, adjusted to the market
areas In which VA facilities are located, and trended forward to
the time period during which the charges will be used,” ®

 

' Medical Fees 2016, Forward

2 Medical Fees 2016, Sources of Data, page 2

4 Medical Fees 2016, Contributors, page v

42016 Physicians’ Fee Reference (PTR), Introduction, published by Medical Publishers, LTD

> General Accounting Office, Health, Rducation and Human Services Division, GAO/MBHS-99-124, page 16
® Federal Register, Vol. 68, No. 244, December 19, 2003, page 70714

HLN Expert Report August 22, 2016 Page 6 of 10

i
!

 

 

 
Case 4:16-cv-00052-RSB-CLR Document 66-9 Filed 12/07/16 Page 7 of 21

7. The U.S. Government Accountability Office (GAO), Health, Education and
Human Services Division, has studied the Veterans Affairs Reasonable
Charge Data on the 80th percentile of charges and reported:

“In our opinion, VA used a sound methodology...” ?

8. The DRG system is a way to categorize similar hospital inpatients and has
been used in the United States since 1982 for most acute care hospitals fo
group patients for management purposes and to determine how much
Medicare pays per case for each inpatient stay for all facility services,
including operating room, lab tests, x-rays, drugs, supplies, implants,
nursing services, etc. Patients within each DRG category are clinically
similar and are expected to use the same level of hospital resources.
Groups of patients in DRGs who are expected to require above average
resources have a higher weight than those who require fewer resources. 8

9. The American Hospital Directory provides data and statistics about more
than 6,000 hospitals nationwide. AHD.com’s hospital information includes
both public and private sources such as Medicare claims data, hospital
cost reports, and commercial licensors. AHD.com’s data are evidence-
based and derived from the most authoritative sources. ®

10. The American Hospital Directory’s database of average inpatient charges
includes room and board for overnight stays, as well as operating roorn,
lab tests, x-rays, drugs, supplies, implants, nursing services, etc. for each
reported Diagnosis Related Group (DRG), 1°

11. The American Hospital Directory's database of average outpatient
charges includes operating room, lab tests, x-rays, drugs, supplies,
implants, nursing services, etc. for each reported CPT code. 41

12. The Medical University of South Carolina - University Hospital was the
only hospital for which we found inpatient cases reporfed in 2015 for DRG
029 - SPINAL. PROCEDURES W CC OR SPINAL
NEUROSTIMULATORS, and their average charge was $79,307 for an
average 7.4 day length of stay. 7?

13. The Georgia state-wide average charge for 87 cases reported in 2014 (the
most recent year available} for DRG 029 - SPINAL PROCEDURES WCC
OR SPINAL NEUROSTIMULATORS was $82,594, 18

 

TTbid, page 8

* Medicare Hospital Prospective Payment System, Office of Inspector General, August 2001 OEI-09-00-00200
° sayw.AHD.com

1 Thid.

" Ybid.

® Ybid.

4 https:/data.cms.gowPublic-Use-Filesnpatient-Prospective-Payment-System-IPPS-Provider/9zmi-76w9

HLN Expert Report _ August 22, 2016 Page 7 of 10

 

 

 
Case ‘4:16-cv-00052-RSB-CLR Document 66-9 Filed 12/07/16 Page 8 of 21

Findings

1.

The Plaintiff's projected professional fees for Stellate Ganglion Blocks are
$2,000 per unit. However, the average of the 75'" percentile of usual,
customary and reasonable charges in the Savannah area is only $766 or
38% of the Plaintiff's projected charge.

The Plaintiff's projected charges for the drug Nucynta for Dr. Harben’s
dosages are 37% higher per mg than the projected charges for the same
drug for Dr. Niederwanger, with no explanation for the variance.

The Plaintiff's projected charges include $16,477.08 for Oxycodone
although Dr. Niederwanger’s Amended Report excluded Oxycodone.

The Plaintiff's projected charges for the drug Gabapentin (per Dr, Harben)
are $55.00 for a 30-day suppiy. However, the average of the four lowest
cost pharmacy sources published by GoodRx.com is only $25.98 or 47%
of the Plaintiff's projected charge.

The Plaintiff's projected Ambulatory Surgery Center charges {or Hospital,
as stated by Dr. Plumly) for the “Trial” Spinal Cord Simulator are $69,000,
However, the 80" percentile of usual, customary and reasonable charges
for the same type of outpatient ambulatory surgery center services in the
Savannah area are only $17,979 or 36% of the Plaintiff's projected charge.

The Plaintiff's projected Ambulatory Surgery Center charges (or Hospital,
as stated by Dr. Plumly) for the “Permanent” Spinal Cord Simulator and
Insertion of the Pulse Generator are $119,660. However, the 80" - -
percentile of usual, customary and reasonable charges for the same type
of outpatient ambulatory surgery center services in the Savannah area are
only $48,865 or 41% of the Plaintiff's projected charge.

The Plaintiff's projected Ambulatory Surgery Center charges (or Hospital,
as stated by Dr. Plumly) for both the “Trial” and “Permanent” Spinal Cord
Simulator are $188,660. The Medical University of South Carolina -
University Hospital reported that their average inpatient charge for DRG
029 - SPINAL PROCEDURES W CC OR SPINAL NEUROSTIMULATORS
in 2015 was $79,307 or 42% of the Plaintiff's projected charges.

The Georgia state-wide average charge for 87 cases reported in 2014 (the
most recent year available} for DRG 029 - SPINAL PROCEDURES WCC
OR SPINAL NEUROSTIMULATORS was $82,594 or 44% of the Plaintiff's
projected charges. .

/ Independent Research on Spinal Cord Stimulation Costs

9.

An article titled “Financial impact of spinal cord stimulation on the
healthcare budget: a comparative analysis of costs in Canada and the
United States" published in The Journal of Neurosurgery: Spine provides

HLN Expert Report August 22, 2016 Page 8 of 10

 

 

 
. ‘Case 4:16-cv-00052-RSB-CLR. Document 66-9 Filed 12/07/16 Page 9 of 21

+ *

independent evidence of annual maintenance cosis. This article resulted
from the researchers’ study of the initial implementation and annual
maintenance costs for patients who had a spinal cord stimulation implant.
The total cost of patient workup, initial implantation, annual maintenance,
and resources necessary to resolve complications were assessed for each
of 197 patient cases studied. This article reported that the cost in the
United States was $57,896 for the initial implantation, and $7,277 for annual
-maintenance cost of an uncomplicated case (in 2007 USD),

10. An aiticle titled “Recent Average Price Trends for Implantable Medical
Devices, 2007-2011” published by Analysis Group, Inc, in September 2013,
by Genia Long, Richard Mortimer, and Geoff Sanzenbacher, reports on
empirical evidence on reparted average price trends for several major
cafegories of implantable medical devices (MDs) based on a sample of
selling prices reported by 294 hospitals. This article reported that from 2007
to 2011 the average price of the electronic implantable medical devices
declined by 14% to 16%. 4

11. The US Bureau of Labor Statistics Data shows that the Consumer Price
Index for all South Urban Consumers for Meclical Care increased from
333,994 in July 2007 to 440.883 In July of 2016, whichis a 32% increase. 14

12. The US Bureau of Labor Statistics Data shows that the Consumer Price
Index for all South Urban Consumers for Medical Care Commodities
increased from 278,467 in July 2007 to 352.624 in July 2016, which is a
27% increase. 17

13. Using the US Bureau of Labor Statistics Data inflation rates described in
above, applied fo the $7,277 in 1977 dollars for annual maintenance cost,
the projected annual maintenance cost in 2016 would be $9,244 to $9,606.

14. Three sfudies were found in peer reviewed professional journals that
disclosed the cost of neurostimulation or néuromodulation for treatment of
back pain was generally in the $30,000 to $40,000 range. Copies of
abstracts of those reports are shown in. Appendicx C — Independent Cost
Studies for Neurostlmulation Treatment of Back Pain.

a. Clinical Journal of Pain (2004) study of 220 patients at the
Cleveland Clinic Foundation found, “The mean per patient total
reimbursement of spinal cord stimulation/peripheral nerve
stimulation absent pharmacotherapy was $38,187.

b. Neurosurgery (2007) study of collected charge data for the first
42 patients in a randomized controlled crossover trial found,

 

4 http-/thejns ore/doi/abs/10.317 1/2009,2, SPINEO865
13 http://advamed.oreg/res.download/365.

16 hitp://data.bls.gov/nda/querytool.jsp?survey=cu

17 YWhid

HLN Expert Report * August 22,2016 — Page 9 of 10

 

 

 
Case 4:16-cv-00052-RSB-CLR Document 66-9 Filed 12/07/16 Page 10 of 21

“The mean per-patient costs were US $31,530 for SCS (spinal
cord stimulation)...”

c. Neurosurgery (2002) study “determined the average
cumulative cost for SCS therapy for 5 years was $29,123 per
patient...” %

PIRI II ESL ELSES DD PD DIS Bad Pod PF Pod Pot Pat

| reserve the right to supplement or revise my opinions expressed in this report
based on review of additional documents, depositions, testimony, or other
information that becomes available prior to my trial testimony, without any obligation
to revise and reissue this written report. For purposes of providing testimony at trial, |
may illustrate my testimony with demonstrative aids such as graphs, charts, and/or
slides. | also expressly reserve the right fo rely on the opinions expressed by any
other expert retained in this case. This report should be read in fts entirety.

qiasns. Sess

L. Lamar Blount, CPA/CFF, FHFMA

 

18 ALN Attachment 6
HLN Expert Report August 22, 2016 Page 10 of 10

 

 

 
Case 4:16-cv-00052-RSB-CLR Document 66-9 Filed 12/07/16 Page 11 of 21

Appendix A
‘LL, Lamar Blount, CPA/CFF, FHEMA

Professional Experience

2003 — Present President & Founder

6

American Benefit Advisors, Inc, (ABA)- — Independent insurance broker and benefits consulting
firm providing innovative solutions te employers through improved benefit plan designs and
communications, including Health, Disability, Life, Dental, LTC and other benefits for privately
held and public organizations with 2 to 1,0004 employees & individuals. Licensed in 10+ states.

Health Law Network, Inc. (LN) — Consulting firm providing compliance and litigation support
in: Medicare & Medicaid, medical billing disputes, clinical documentation, ICD & CPT coding,
reasonableness of hospital & professional fee charges, statistical sampling, BHR, medical damages,
health insurance and forensic accounting, Served as consulting expert in 100+ cases, and provided
expert testimony in multipfe US District Courts and State Courts in 30+ states. Clients represented
include privately held and publicly traded organizations, hospitals & health systems, physicians,
insurance companies, government agencies and healthcare law firms nationwide,

1990 — 2002 Healthcare Management Advisors Chairman & Founder

Developed national consulting firm, which inchided MD, RN, RHTA, JD, MEA, and CPA
consultants who served more than 1,600 hospitals and healthcare providers in 50 states.

Directed 100+ person staff who provided: training for physicians, coders, and billers; DRG and
APC reviews; Medicare compliance services; medical record, UR & QA consulting services;
reimbursement planning and appeals; operational reviews; contract coding; and litigation stipport.

Clients inchided Memorial Hermann Health System, Emory Healthcare, Veterans Administration,
Hospitat Corporation of America, American Medical International, HealthSouth, Tenet, North

Broward Hospita! District, Baptist Healthcare System, Inova Health System, Baptist Health
System, Methodist Healthcare, and other healthcare organizations and law firms nationwide,

1981 — 1990 Hyatt, Imler, Ott & Blount - Aflanta Partner & Co-Founder

e

Co-founding partner of the tenth largest CPA firm in Atlanta (as of 1990), Developed the firm's
audit and healthcare financial consulting practice, including reimbursement planning, financial
projections, medical record and utilization reviews, receivables management, litigation support,
CON assistance, rate setting, chargemaster analysis, and feasibility studies.

President oP HOSPLAN Micro Systems (an affiliate) which developed and sold medical records,
budgeting, rate setting and reimbursement Software to 600+ hospitals nationwide, Designed
RatePlan procedural rate optimization system in 1983 and used by 3M Consulting through 2010.

1974 — 1981 Eynst & Young - Aflanta Healthcare Audit Manager

°

Supervised substantially all financial audits and reimbursement consulting engagements of
Georgta healthcare clients as well as Hospital Corporation of America (FICA) and Adventist .
Health System, Served as office coordinator for the firm's computerized cost report system and
assisted national office in revisions of the KOSTPAK system and user support material.

June 2016

 

 

 
Case 4:16-cv-00052-RSB-CLR Document 66-9 Filed 12/07/16 Page 12 of 21

L. Lamar Blount, CPA/CFF, FHFMA -

Education/Licenses/Certifications

BBA with Major in Accounting - [974 - Georgia Southern University
Certified Public Accountant - £976 - Georgia # 3625

Certified Healthcare Financial Professional (HEMA) — 1997

Fellow Healthcare Financial Management Association (HEMA) — 1998
Property & Casualty Insurance Agent — 2001 - Georgia # 595707

Life, Accident & Sickness Insurance Agent ~ 2002 - Georgia # 595707
Certitted in Financial Forensics (AICPA} - 2010 - #4509

Life, Accident & Sickness Insurance Counselor - 2011 - Georgia # 595707
Registered Life Seiflemeni Broker — 2014 - Georgia

Publications

Mosiering the Retabursement Process —Second & Third Edition books - Co-author for AMA
Ht Strategy Advisor — Newsletter Editor and Publisher 1990 - 2002

Sirategy Advisor News — Newsletter Editor and Publisher 2003 - 2004

Hospital Payment & Information Management - Newsletter Editorial Advisory Board 1990-95
Medical Office Manager - Newsletier Editorial Board 1992 - 2016

Medical Records Briefing - Newsletter Editorial Advisory Board 1992 - 2001 .

Physictan’s Payment Update - Newsletter Editorial Advisory Board 1990 - 1995

Report on Medicare Compliance - Newsletter Editorial Advisory Board 1997 ~ 2001

Professional Societies and Associations

*

American Institute of CPAs
American Health Lawyers Association
Association of Healthcare Auditors and Educators
Georgia Society of CPAs

x Ethics Committee 1995-1997

* Forensics & Valuations Task Force 2013
Health Care Compliance Association

Healthcare Financial Management Association
" Georgia Board Member 1988-1989

» Awards - Folimer Bronze, Reeves SHver, Muncie
Gold, and Founders Medal of Honor

National Association of Healih Underwriters

June 2016

 

 

 
Case 4:16-cv-00052-RSB-CLR Document 66-9 Filed 12/07/16 Page 13 of 21

L, Lamar Blount, CPA/CFF, FHFMA

Lectures/Seminars/Programs Presented
“Code of Conduct & Compliance Training” — June 2062, Neurology Associates
“Compliance & Benefit Solutions” —- February 2002, HBA & Colonial Life
“Compliance — Getting Physicians’ Buy-In” — Aprif 2000, HMA
“Compliance Issues Ending in Court Cases” - 2011 National AHCAB Conference
“Compliance Risks & Solutions for MDs” — July 2003, MCCG Family Practice Residency
“Controlling Compliance Risks” — 2002, Association of American Physicians & Surgeons
“Employee Benefit & ERISA Compliance Isstes” — January 2013, Georgia HEMA
“Hot Topics in Compliance” — January 2000, GHA; and February 2001, GA HEMA
“Improving Coding Accuracy & Compliance” -- September 2000, Covenant Health System.
“Knowing and Avoiding the OIG Compliance Targets” — January 2003
“Medicaid Forum —CFO Update” — December 1999, Georgia HFMA
“Minimizing HIM Fraud and False Claim Risks* — March 1999, HMA
“ObamaCare — Employers Beware” — August 2013, Atlanta CPA Alliance
"OIG & Auditing Issues” - 2010, National AHCAE Conference
“OIG Compliance Targets” — February 2002, HFMA Dixie Institute
“Reducing PFS Compliance Risks” — April 2060, HSI PFS Roundtable
“Reducing Risks for Providers & CPAs” — August 2000, NY Society of CPAs
“Self-Disclosure Protocol - Advantages and Pitfalls” — 1998 Health Care Compliance Tastitute
“Small Business Survival & ACA Update” — May 2014, MS CPAs
“Strategic Options for Employers Under the ACA” — May 2015, SHRM Atlanta
“State of Compliance in Healthcare” — April 1999, Kentucky HEMA .

June 2016

 

 

 
Case 4:16-cv-00052-RSB-CLR -Document 66-9 Filed 12/07/16 Page 14 of 21

Appendix B

L, Lamar Blount, CPA/CFF, FHFMA
Expert Witness Testimony 2011 - 2016

Kimberly Blackmon vs. Timothy Hairstin and Hobart Corporation, in Case No.
2015cv00032E in State Court of Clayfon County, GA. Testified in August 2016
deposition on expert report regarding proper billing and reasonable charges for
Ambulatory Surgery Center and professional fees. Engaged for the defendants by
Nikolal Makarenko, Esq. with Groth & Makarenko in Suwanee, GA.

US ex rel. Suzanne Balko v, Senior Home Care, Inc., Case 8:13-cv-03072 In US
District Court, Middle District of Florida, Tampa Division. Testified in June 2016
deposition on expert report regarding proper billing and reimbursement for home health
services, Engaged for the plaintiff by Donald Schutz, Esq. in St. Petersburg, FL.

Mindy Sullivan v. Yasviel Gonzalez, Junior Rivera, and North American
Transport, Case 1:15-cv-00439 in US District Court, North Georgia. Testified in May
2016 deposition on expert report regarding proper billing and reasonable charges.
Engaged for the defendants by Matt Stone, Esq. with Smith Moore Leatherwood in
Atlanta.

Odom v. Schlueter Pipe Organ, Westfield Insurance, et al., Civil Actlon No. 13A —
49540 in State Court for DeKalb County, Georgia. Testified in July 2015 deposition
and trial on the comparison of billed charges to published UCR amounts, Engaged for
the defendants by Chris Penna, Esq. of Penna & Mendicino in Conyers, GA,

Kimberly Prive vs. Toole Industrial Supplies, Inc. and Douglas Harold Davis,
Case No.: 2010-CA-3764 in Circuit Court, Fourth Judicial Circuit for Duval County,
Florida. -Testified in June 2015 deposition on billed medical charges, the
reasonableness of ceriain charges, and worked time data. Engaged for the defendant
by Kevin Jakab, Esq. of Jakab Law Firm in Jacksonville, FL. -

USA v. Sardar Ashrafkhan in No. 11-CR-20551 in US District Court, Eastern District
of Michigan, Southern Division, Testified-in June 2015 trial on Medicare billing
requirements and CPT code definitions for physician services to home bound patients.
Engaged for the defendant by Gregory Moore, Esq. and Martin Crandall, Esq. of Clark
Hill in Detroit, MI.

Sarkis Karunyan v. Special Agent Lauren Hanover and the United States of
America, in No. CV-10-00198-PHX-ROS in United States District Court, District of
Arizona. Testified in April 2015 deposition on Medicare DME coverage requirements.
Engaged for the plaintiff by Peter Akmajian, Esq. of the Udall Law Firm in Tuscon, AZ.

Santrell L. Bell v. Celio O. Burrowes, M.D., and The Georgia Center for Bariatric
Surgery, Inc. in Civil Action File No. 13-EV-018048-E in the State Court of Fulton —
County, GA. Testifled in March 2015 deposition on Medicare coverage and billing
requirements. Engaged for the plaintiff by Eddie Cooper, Esq. in Atlanta, GA.

August 2046

 

 

 
Case 4:16-cv-00052-RSB-CLR Document 66-9 Filed 12/07/16 Page 15 of 21

Dr. Amado Viera v. FL Agency for Health Care Administration, in Final Audit
Report No. 14-0412-000 before Administrative Law Judge in West Palm Beach, FL.
Testified in December 2014 hearing on expert report regarding Medicaid
reimbursement issues, challenging the State on their statistical sample, CPT coding
and medical necessity determinations. Engaged for the plaintiff by Michael Keenan,
Esq. in West Palm Beach, FL.

Shawn Rosenbaum, ef al. v. IMC-Heartway, et al., in Cause No. 2009-Ci-01757, in
the District Court of Bexar County, Texas. Testified in September 2014 deposition on
expert report regarding Medicare coverage and limitations for motorized wheelchairs
and accessories. Engaged for the defendants by Erin Westendorf-Boyd, Esq. of
Chamberlain McHaney in Austin, TX.

Leslie and Adam Karwowski vs, Adam Kopelian, M.D., et al., in Docket No. ESX-L-
69-10, in Superior Court of New Jersey, Essex County. Testified in July 2014
‘deposition on expert repart evaluating the reasonableness of one patient's $4.8 million
in medical bili charges by hospitals, sub-acute, home health, physician, radiology,
laboratory and other professional fees, TPN supplements and medications. Engaged °
for the plaintiffs by Carol Forte, Esq. with Blume, Goldfaden, Berkowitz, Donnelly, Fried
& Forte in Chatham, Nd:

Cathy A. Mitchell v. Conseco Life Insurance Company, Civil Action No. 8:12-548 in
US District Court for South Carolina. Testified for the defendant in March 20147
deposition on expert report regarding health insurance policy benefits and coverage
issues; engaged by Jamie Moore, Esq. and Gary Howard, Esq. of Bradley Arant Boult
Cummings, LLP, in Birmingham, AL.

City of Clinton lowa vs, Hopkins and Michael Walker, in Case No. LACE 123660
before lowa District Court for Scott County. Testified for the defense’ in October 2013
legal malpractice trial regarding a prior $4.5 million False Claim Act settlement for
Medicare and Medicaid ambulance service billing by Clinton, lowa; engaged by Robert
Waterman, Esq. of Lane & Waterman in Davenport, IA.

Flores and Villacorta v. Georgia Power Company, in Civil Action File No. 11-C-
09903-06 before State Court of Gwinnet County, GA, Testified for the defendant in
June 2013 deposition on expert report regarding reasonableness of medical charges
for hospital and physician claims; engaged for the defense by Scott Farrow, Esq. and
Michael Rafi, Esq. of Troutman Sanders in Atlanta, GA.

In the Matter against Reginald Buford, MD & Gary Killyon, MD, in SOAH CASES:
503-11-8751MD & 8759MD before the Texas Medical Board. Testified in April 2013
hearing on expert report regarding reasonableness of charges for physician claims;
engaged by Barbara Jordan, Esq. for Texas Medical Board, in Austin, TX.

USA ex rel, Reynalds vy. Planned Parenthood Gulf Coast, in Civil Action No. 9-09-
CV-124, before the US District Court for the Eastern Division of TX. Testified for the
plaintiff in deposition in October 2012 on expert report on documentation, coding and
blilng Medicaid, ‘Titles V, X & XX for clinic services, in which HLN performed a forensic
audit on a statistically valid sample of 478,000 claims containing 1.8 millon Items;

August 2016

 

 

 
Case 4:16-cv-00052-RSB-CLR ,Document 66-9 Filed 12/07/16 Page 16 of 21

engaged by Frank Manton, Esq. of American Center for Law & Justice in New Hope,
KY,

United Biologics, et al v Texas Allergy, Asthma and Immunology Society
{TAAIS), et al, Cause No, D-1-GN-11-002421, in the District Court of Travis Counly,
Texas, 353rd Judicial District. Testified for the defendant in deposition j in September
2012 on proper billing for allergen and immuno-therapy services; engaged by
Catherine Kyle, Esq. of Chamberlain McHaney in Austin, TA.

Oklahoma Heart Hospital, LLC, v. OneBeacon Insurance Company, in ClV-11-739-
F before the US District Court for the Western District of OK. Testified for the

defendant in deposition in July 2012 on expert report on the proforma amount of
Medicare reimbursement for hospital and physician charges; engaged by Tarron
Gartner, Esq. of Cooper & Scully in Dallas, TX.

New York vs. Herschman, in Case 01548N-2011 before the Nassau County Supreme
Court, New York. Testifled for the defendant on Medicare reimbursement, coding and
billing for physician services in insurance fraud trial in May 2012; engaged by Samuel
Ksarliner, Esq. of Adler & Karliner in Brooklyn, NY.

Medical Center of Central Georgia, Inc. vs. The City of Macon, Georgia, Inc., in
Civil Action No. 05-CV-31168, before the Superior Court of Bibb County, Georgia.
Testified in deposition in March 2042 for the defendant on expert report regarding

' documentation, coding and billing for hospital and physician services; engaged by
William Noland, Esq. and Amy Dever, Esq. of Childs & Noland in Macon, GA.

U.S, ex rel. Sharp v. Eastern Oklahoma Orthopedic Center, in Case No. 05-CV-
572-TCK-TLW, before the United States District Court for the Northern District of OK,
Testified in deposition in March 2012 for the defendant on expert report regarding
documentation, coding and billing Medicare for physician services; engaged by
Richard Mullins, Esq. of McAfee & Taft in Oklahoma City, OK.

Glenwocd Systems, LLC vs. Augment Technology Solutions Pvt. Lid., and
Augment Technology Solutions, LLC d/b/a ATS Health Care, ef al., in US. District
Court, Central District of CA, Case No. 2:10-cv-08910-CAS. Testified in deposition in
February 2012 for the defendants on expert report regarding business practices of
outsourced medical billing firms; engaged November 2011 by Michaél Fischer, Esq. of
McKasson & Klein in Irvine, CA.

Andalusia Regional Hospital v. Steven M. Hults, D.O., in arbitration before the
AHLA ADR Service, AHLA No. A-062110-839. Testified in October 2011 deposition
and November 2011 hearing for the defendant on expert report regarding Medicare
and Medicaid Conditions of Participation and proper billing for anesthesia services;
engaged by Kirk Goettsch, Esq. with Parsonage Vandenack Williams, Omaha, NE.

August 2016

 

 

 
Case 4:16-cv-00052-RSB-CLR Document 66-9 Filed 12/07/16 Page 17 of 21

HLN Appendix G - Independent Cost Stuclies for
Neurostimulation Treatment of Back Paln

 

RUBENSTEIN PUBLIC RELATIONS, ING.

NORTH AMERICAN NEUROMODULATION SOCIETY
4700 W, Lake Avenue

Glenview, IL 60025

www. neuromodulation.org

Rubenstein Public Relations
’ Contact Eve McGrath Tel: 212-843-8490:

Emall: emcgrath@rubensteinpr.com ;
FOR IMMEDIATE RELEASE

10 Things to Know About Neuromodulation
Minimally invasive Procedures to Reduce or Alleviate Pain

NEW YORK - February 24, 2010 — Robert Foreman, Ph.D., president of the North
American Neuromodulation Society (NANS), stated, “Neuromodulation Is among the
most rapidly growing fields in medicine today. tt can help to relieve chronic back pain,
pain from cancer and other nerve injuries, pain frora Complex Regional Pain Syndrome
(CRPS) and Reflex Sympathetic Dystrophy (RSD) greatly improving the quality of life for
patienis.”

Neuromodulation encompasses the application of targeted electrical, chemical and
biological technologies to the nervous system in order fo improve function and quality of
life. ‘The appropriate therapy (low level electrical pulses or micro-doses of medicine) are
targeted to nerves along the spinal cord to block pain signals to the brain

According fo Joshua Prager, MD, MS, former president of NANS, “Neuromodulation can
give people their lives back. Patients have gone from wheelchairs back to the tennis
court, back fo the sidelines of their children’s soccer games, back to their jobs. There are
few treatments that can improve the activily level and the psychological outlook of a
patient in pain like neuromodulation techniques.” NANS has compiled ten things
everyone should know about neuromodulation:

1. Neuromodulation alleviates or lessens pain without putting patients into a
“drug fog.” ;

By relieving pain with neuro-stimulation or a drug-delivery system, that provides micro-
doses of medicine, the patient can avoid some side effects, including excessive sedation
or clouding of thoughts. " .

 

 

 
Case 4:16-cv-00052-RSB-CLR Document 66-9 -Filed 12/07/16 Page 18 of 21

1

. 2. Potential neuromodulation patients can “test drive” the modality.
Neuromodulation is administered via minimally invasive techniques and it is a rare
medical treatment that the patient can “test drive” during an incisionless triat before final
consideration of the device's insertion.

3, Neuromodulation is FDA approved and has been used tn practice for two
decades.
Extensive research and clinical trials have documented neuromodulation’s ability to

decrease chronic pain and improve the quality of life for patients.

4, Neuromodulation can be applied through different techniques.
Neuromodulation comprises four treatment modalities: spinal cord stimulation, spinal

drug delivery systems, brain stimulation and peripheral nerve stimulation, These
treatments should only be administered or provided by a trained Physician who

specializes in this type of care,

6. Neuromodulation Implants can be removed.
Once implemented, if the patient chooses to stop the treatment, the device can be
removed. The procedure is reversible,

6, Neuromodulation improves the quality of life for patients in pain.

The American Pain Foundation estimates that chronic pain affects 76.5 million people in the
U.S., while the National Institutes of Health estimates that chronic pain costs the U.S.
economy $100 billion a year in lost work tine and medical expenses.

Therapeutic Effe ess
* tn a national registry of patients with low back pain, implanted with an intrathecal drug
deliver (IDD) system:

* At the 6 and 12 month follow-up evaluations, pain scores had decreased significantly
both for back and leq palin compared to baseline. At 12 months, back pain had
declined by 48% and feg pain by 32%. -

* At6 and 12 monihs, improvements in functional abilities had occurred In 60% and

65% of the patients.
Deer T, et al. Pain Med 2604

* According to a study conducted by North et al. in 2005, 47% of patients who recelved
Spinal Cord Stimulation (SCS) found that it relieved their pain by 50% or more; this is

significantly more than the 12% who achieved the same effect through reoperation.
Norih RB, Kidd OH, Farokhi F, Piantadosi SA. Spinal cord stlmulaiion versus rapeated lumbosacral spine surgery for chronle
palm @ randoralzed, controlled (lal. Neurosurgery. 2005; 56:98-106; discussion 106-107. .

*Back pain accounted for 40% of absences from work, second only to fhe common cold.

Guo HR, Tanaka S, Halperin WE, Cameron LL. Back pain prevalence In US Industry and estimates of lost workdays. Amd
Public Health. 1999;80:1929-1036,

* Recent systematic reviews of many trials with thousands of patients also verify ihe
benefits of SCS. A 2005 review of 74 studies of 3300 pattents with chronic leg and back
pain and FBSS found that:

* 62% of implanted patients achieved at least 50% pain rellef.
* 653% needed no analgesics post-SCS,

 

 

 
Case 4:16-cv-00052-RSB-CLR Document §6-9 ' Filed 12/07/16 Page 19 of 21

‘
+

* 40% returned to work,
* 70% were satisfied with SCS.

Taylor RS, Van Buylen JP, Buchser E, Spinal cord s{tmutation for chronic back and leg pain and failed back surgery
syadrome: A systematic review and analysis of prognostic factors, Spine. 2005;30:152-60,

Cost-effectiveness

* SCS pays for Itself within 2.1 years with patients who have clinically effective SCS.

Beil GK, Kidd D, Noith RB. Cost effectiveness analysts of spinal cord sifmutation In treatment of failed back surgery syndrome. d
Pain Symptom Manage. 4907/13:286-296. Clted by: Stojanovic MP, Abdl S. Spinal Cord Stimulation, Pain Physician. 2602;6(2):
486-166.

*-Ariother study by Kumar determined the average cumulative cost for ‘SCS therapy for 5.
-years was $29,123 per patient, ess than the per-patient cost of $38, 029 for conventional

pain therapy.
Kumar K, Malik 8, Demera D. Treatment of chronle pain vith spinal cord sitmutalien varsus alternative iheraples: cost-
effectiveness analysis, Neurosurgery 2002;51:106-116. .

* Acost-benefit analysis by Mekhail et al. in the Clinical Journal of Pain revealed that the

cost savings associated wilh SCS was $30,221 per patient per year.
Mekhell NA, Aeschbach A, Stanton-Hicks M. Cost benefil analysis of neurostimulallon for ehronte patn. Clin J Path.
2004;20:462-466.

7. There are neuromodulation specialists In your area.

There are approximately 606 members of NANS located across the United States.
Membership includes physicians of different backgrounds, all of whom specialize in pain,
spasticity and movement disorders. A member tn your local area can be found by visiting

http //Awww, neuromodutlation.org/

8. Neuromodulation procedures are covered by most medical insurance and
Medicare programs. .

As with all medical procedures, the patlent mist check with their insurance plan to
receive proper approvals.

9. Patient care is of the utmost importance to neuromodulation specialists.
Members of NANS are concerned first and foremost with the care given to their patients
and the impact the neuromodulation program has on their patients’ lives.

410. Neuromodulation is NOT SCIENCE FICTION.

New sclentific advances and expanding clinical indications will continue to fuel the
growth of this dynamic field in the coming decade but the results it can bring to pain
sufferers is real today.

About the North American Neuromodulation Society (NANS);:

The North American Neuromodulation Society (NANS) is dedicated to being the premier
organization representing neuromodulation, NANS pramotes multidisclplinary
collaboration among clinicians, scientists, engineers, and ofhers to advance
neuromodulation through education, research, innovation and advocacy, Throtigh these
efforts NANS seeks to promote and advance the highest qualify patient care. hite://

www.neuromodulation. org/
tH ff

 

 

 
Case 4:16-cv-00052-RSB-CLR Document 66-9 Filed 12/07/16 Page 20 of 21

Spinal cord stimulation versus reoperation for failed back surgery syndr.., hitpy:/Aveww.acbi.nlm nib.gov/pubmed/ 17762749

{ of 2

_ Neurosurgery, 2007 Aug:64(2):361-8; discussion 368-9.

 

PubMed

 

Wwe ee esi ee See ce gee By a RS SS 2 ere ee Set ae (og lee eee ee iit ete Ta reba ney vetesazes g

Abstract Fult text links

 

 

Gy Walters Ktuwer

   

Spinal cord stimulation versus reoperation for failed back surgery syndrome: a cost
effectiveness and cost utility analysis based on a randomized, controlled trial.

North RB’, Kidd D, Shipley J, Taylor RS.
Author Information

Erratum in
Neurosurgery. 2009 Apr:64(4):604,

Abstract
OBJECTIVE: We analyzed the cost-effectiveness and cost-utility of treating failed back-surgery syndrome using
spinal cord stimulation (SCS) versus reoperation. :

MATERIALS AND METHODS: A disinterested third party collected charge data for the first 42 patients in a
randomized controlled crossover trial. We computed the difference in cost with regard to success (cost-
effectiveness) and mean quality-adjusted life years (cost-utllily), We analyzed the patlent-charge data with
respect to intention to treat (costs and outcomes as a randomized group), treated as intended (costs as
randomized; crossover failure assigned to a randomized group), and final treatment costs and outcomes.

RESULTS: By mean 3. 1-year follow-up, 13 of 21 patients (62%) crossed from reoperation versus 5 of 19 patients
(26%} who crossed from SCS (P < 0.028) [corrected]. The mean cost per success was US $117,901 for
crossovers to SCS. No crossovers fo reoperation achieved success despite a mean per-palient expenditure of
US $260,584, ‘The:mean p per-pallent Costs: were: “US! $34; 630. for-SCSiversus US $38,160 for reoperation
{intention to treat), US $48,357 for SCS versus US $105,928 for reoperation (treated as intended), and US
$34,371 for SCS versus US $36,341 for reoperation (final treatment). SCS was dominant (more effective and less
expensive) in the incremental cost-effectiveness ratios and incremental cost-utilily ratios. A bootstrapped
simulation for incremental costs and quality-adjusted life years confirmed SCS's dominance, with approximately
72% of the cost results occurring below US policymakers’ “maximum willingness to pay” threshold,

CONCLUSION: SCS was less expensive and more effective than reoperation In selected failed back-surgery
syndrome patients, and should be the initial therapy of choice. SCS is most cost-effective when patients forego
repeat operation. Should SCS fail, reoperation Is unlikely te succeed, .

Comment in
Spinal cord stimulation versus reoperation for failed back surgery syndrome: a’cost effectiveness and cost utility
analysis based on a randomized, controlled trial. [Neurosurgery. 2008]

PMID: 17762749 [PubMed - indexed for MEDLINE]

Publication Types, MeSH Terms , | |
LinkOut - more resources | 4

‘615/2016 5:47 PM

 

 

 
’ Case.4:16-cv-00052-RSB-CLR Document 66-9 Filed 12/07/16 Page 21 of 21

Cost benefit analysis of neurostimulation for chronic pain. - PubMed - NCBI htip/Avwewnebinln nth.govw/pubmed/1 5502691

| of 2

.
PubMed J . | |
FS ts Pa eS PS Te FA Dae Ag EB 8 eo ge tes te As ee SEES oy ee eee et ge =

Abstract ; Full text links ;

 

 

 

 

 

Ciln J Paln. 2004 Nov-Dec;20(6):462-8.
Cost benefit analysis of neurostimulation for chronic pain.

Mekhall NA’, Aeschbach A, Stanton-Hicks M.
Author information

Abstract
OBJECTIVES: To assess the healthcare utilization of patients with infractable chronic neuropathic pain treated
with spinal cord stimulation and peripheral nerve stimulation and to provide a cost-benefit analysis.

METHODS: The case records of 222 consecutive patlents who received spinal cord stimulation or peripheral
nerve stimulation implants at the Cleveland Clinic Foundation between 1990 and 1998 were reviewed
retrospectively. Patients were asked to complete a Neurostimulation Outcome Questionnaire designed to gather
data on utilization of healthcare resources starting 1 year before surgical implantation. These data were pooled
and net differences in events per patient per year, before and after device Implantation were calculated and
modeled to 2000 cost data obtained from the Medicare Fee Schedule and Healthcare Financing Administration.

RESULTS: Neurostimulation Outcome Questionnaires were returned by 128 patients. The mean patient age was
46 ears {range 21-74 years) and the mean Implant duration was 3.1 +/- 2.3 years (range 0.6-8.9 years), -
fal nentof spinal. cord stimulatlon/peripheral Heva-stinulalion absenG =
ipharmaeotherapy. Was 338,187, SPatients ireated with spinal cord stimulation/peripheral nerve stimuflation for pain

management achieved reductians In physician office visits, nerve blocks, radiologic i imaging, emergency
department visits, hospitalizations, and surgical procedures, which translated Into a net annual savings of
approximately $30,221 and a savings of $93,685 over the 3.1-year implant duration. The large reduction in
healthcare utilization following spinal cord stimulation/peripheral nerve stimulation implantation resulted in-a net

per patient per year cost savings of approximately $17,903.

 

    
 

    

DISCUSSION: The reduced demand for healthcare resources by patients receiving neurostimulation suggests
that peripheral nerve stimulation and spinal cord stimulation treatment, although assoclated with relatively high
initial costs, demonstrates substantial long-term economic benefits. Thus, neurostimulation should be considered
as a viable option for the early treatment of patients with intractable chronic neuropathic pain,

PMID: 15502691 [PubMed - Indexed for MEDLINE]

Publication Types: MeSH Terms i

LinkOut - more resources . i

 

Pepe ae eee. SEAR AY TS PRE ee PS ET = SEE rie PSS B ye varcus

PubMed Commons . PubMed Commons home

 

0 comments

6/5/2016 5:32 PM

 

 

 
